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                      UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF TENNESSEE
                            WESTERN DIVISION
  ________________________________________________________________________

        LATASHA CHANTA TENNIAL
            Appellant,

              v.                              Civil No. 19-cv-02688-JTF-tmp

        REI NATION, LLC,
             Appellee.


        Bankruptcy No. 18-28470-JDL
  ________________________________________________________________________

                            BRIEF OF APPELLEE
  ________________________________________________________________________




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                       CORPORATE DISCLOSURE STATEMENT



        In accordance with Rule 8012 of the Federal Rules of Bankruptcy

  Procedure, REI Nation, LLC, would respectfully show the following:

        1.     Parent Companies: REI Nation, LLC, has no parent company and is

               not publicly traded.

        2.     Stock Ownership: No public company owns an interest in REI

               Nation, LLC.




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                               STANDARD OF REVIEW

           The Bankruptcy Court's decision is independently reviewed, applying the

  clearly erroneous standard to the factual findings and a de novo review to the

  conclusions of law. West v. Fred Wright Construction Co., 756 F.2d 31, (6th Cir.

  1985).

                             STATEMENT OF THE CASE

           Appellant filed her Chapter 13 bankruptcy case on October 10, 2018. Her

  mortgage company had foreclosed on her house (the “Premises) in 2014, but she

  still resided there. Appellee REI Nation, LLC, (“REI”) purchased the house from

  the mortgage company (Bank of America) on June 18, 2019. Appellant, at page

  11 of her brief, admits that REI is the owner of this property, although she

  alleges, falsely and without evidence, that REI is a “strawman” of Bank of

  America.

              On March 25, 2019, then-owner of the Premises, Bank of America,

  obtained relief from the Automatic Stay for the purpose of obtaining possession

  of the Premises [Order Granting Motion for Relief from Automatic Stay,

  Bankruptcy Doc. 26].

              REI filed its bankruptcy court Motion seeking an order terminating the

  Automatic Stay, or in the alternative for an order deeming the automatic Stay to

  not be in effect effective on March 25, 2019, pursuant to Section 362(d)(1), for the


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  purpose of allowing REI to exercise its state law remedies to obtain possession of

  the Premises, on grounds that the Premises was not property of the estate, and

  the Debtor had no leasehold interest that was capable of being assumed pursuant

  to Section 365 of the Bankruptcy Code. Bank of America had been afforded the

  same relief by Order dated March 25, 2019.

         On September 5, 2019 the bankruptcy court conducted a hearing on the

  Motion and held that relief from the stay should be granted to REI effective as of

  March 25, 2019.

         The Order granting REI's Motion was entered on the docket on September

  12, 2019. The fourteen-day deadline for appealing the Order expired on

  September 26, 2019. The Notice of Appeal was late-filed on October 9, 2019.



                              SUMMARY OF ARGUMENT

         A.       The District Court lacks jurisdiction of this appeal because the

  Notice of Appeal was not timely filed.

         B.       Appellants' brief fails to show that the bankruptcy court erred or

  abused its discretion in terminating the automatic stay to allow REI to obtain

  possession of its property.



                                       ARGUMENT

         A.       The appeal was not timely filed, depriving this court of

  jurisdiction.


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         Rule 8002(a)(1) of the Federal Rules of Bankruptcy Procedure provides

  that a Notice of Appeal must be filed within fourteen days after entry of the

  order being appealed. Even if Appellant could show excusable neglect, the

  deadline to extend time to appeal an order granting relief from the automatic

  stay cannot be extended:

         (d) Extending the Time to Appeal.

                (1) When the Time May be Extended. Except as provided in
                subdivision (d)(2), the bankruptcy court may extend the time to
                file a notice of appeal upon a party's motion that is filed:
                        (A) within the time prescribed by this rule; or
                        (B) within 21 days after that time, if the party shows
                        excusable neglect.


                (2)     When the Time May Not be Extended. The bankruptcy
                        court may not extend the time to file a notice of appeal if the
                        judgment, order, or decree appealed from:
                        (A) grants relief from an automatic stay under §362, 922,
                        1201, or 1301 of the Code;
                ***
                Rule 8002(d) F.R.B.P. (emphasis added)


         The Notice of Appeal was not timely filed, and the deadline for filing was

  not and cannot be extended. Therefore, the appeal should be dismissed, as this

  Court has no jurisdiction over a late-filed appeal. See, e.g., Stelpflug v. Federal

  Land Bank of St. Paul, 790 F.2d 47 (7th Cir., 1986); In re Kmart Corp., 315 B.R. 718

  (Bankr. N.D. Ill., 2004).




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               B.     Appellant has failed to demonstrate that the bankruptcy

               court erred or abused its discretion.

        It is undisputed that REI owns the Premises and that the previous owner,

  Bank of America, was afforded relief from the automatic stay to obtain

  possession. Appellant fails to explain why it was error for the bankruptcy court

  to provide REI with the same relief that was granted to Bank of America as to the

  same property. Appellant has no leasehold interest in the property that can be

  assumed under Section 365 of the Bankruptcy Code. Therefore, it was entirely

  correct for the bankruptcy court to grant relief from the automatic stay to REI.

        Appellant's brief says very little about the bankruptcy order and cites no

  law in support of her appeal. She states that the bankruptcy court “may have”

  abused its discretion but fails to explain why. Appellant argues that REI is not a

  creditor in her bankruptcy and that she did not enter into an agreement with REI.

  These arguments are not helpful to Appellant, as they reinforce the fact that she

  has no leasehold interest in the property that could be assumed in her

  bankruptcy case. The remaining contents of her brief are simply not germane.

                                    CONCLUSION


        Appellee REI Nation, LLC, respectfully requests this Honorable Court to

  dismiss the appeal, or in the alternative to affirm the bankruptcy court order

  terminating the automatic stay.




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                                    Respectfully submitted,

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                                    /s/ Russell W. Savory
                                    ____________________________________
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                             CERTIFICATE OF SERVICE

         I, Russell W. Savory, do hereby certify that a true and accurate copy of the
  foregoing pleading has been served on Latasha Chanta Tennial, 4573 Fawn
  Hollow Cove, Memphis, TN 38141 and Jimmy L. McElroy, Esq., 3780 South
  Mendenhall, Ste. 202, Memphis, TN 38115 via first class U. S. Mail, postage
  prepaid, this 12th day of November, 2019.


                                           /s/ Russell W. Savory
                                           ____________________________________
                                           Russell W. Savory




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